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                     UNITED STATES DISTRICT COURT
           FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.3.3
                                Eastern Division

Able Home Health, LLC
                                   Plaintiff,
v.                                                    Case No.: 1:21−cv−03511
                                                      Honorable John Robert Blakey
LKN Strategies, Inc., et al.
                                   Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Wednesday, December 8, 2021:


        MINUTE entry before the Honorable John Robert Blakey: Based upon the filing
of the stipulation of dismissal [17], this case is dismissed without prejudice as to class
claims against Defendant LKN Strategies, Inc. and John Does 1-10 and with prejudice
as to Plaintiff's individual claims against Defendant. Civil case terminated. Mailed
notice(gel, )




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
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